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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


Jared Goyette, Craig Lassig, Katie Nelson,                     Court File No. 20-cv-01302
Tannen Maury, Stephen Maturen, and The                                      (WMW/DTS)
Communications Workers of America,
On behalf of themselves and other
similarly situated individuals,

               Plaintiffs,
        v.                                             DECLARATION OF KEVIN C.
                                                                        RIACH
 City of Minneapolis; Minneapolis Chief of
 Police Medaria Arradondo in his
 individual    and      official   capacity;
 Minneapolis Police Lieutenant Robert
 Kroll, in his individual and official
 capacity; Minnesota Department of Public
 Safety Commissioner John Harrington, in
 his individual and official capacity,
 Minnesota State Patrol Colonel Matthew
 Langer, in his individual and official
 capacity; John Does 1-10, in their
 individual and official capacities;

               Defendants.



       I, Kevin C. Riach, declare under penalty of perjury under the laws of the United

States of America that the following is true and correct:

       1.     I am an attorney for the Plaintiffs in the above-captioned matter, and I submit

this Declaration in support of Plaintiffs’ Motion for a Preliminary Injunction

       2.     Attached as Exhibit A to this Declaration is a true and correct copy of the

transcript of proceedings held in this matter on July 28, 2021. The transcript has been
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redacted pursuant to the redaction request made by State Defendants (and stipulated to by

Plaintiffs) in this matter, filed as ECF No. 212.

       3.     Attached as Exhibit B to this Declaration is a true and correct copy of a

September 2, 2021 letter from Leita Walker, attorney for CNN Reporter Carolyn Sung, to

Assistant Hennepin County Attorney James Keeler.

       4.     Attached as Exhibit C to this Declaration is a true and correct copy of a

Statement of Probable Cause regarding Carol Sung provided Plaintiffs by the Hennepin

County Sheriff’s Office in response to Plaintiffs’ subpoena.

       5.     Attached as Exhibit D to this Declaration is a true and correct copy of State

Defendants’ Responses to Plaintiffs’ Interrogatories (Set 1).




Dated: September 3, 2021                                /s/ Kevin C. Riach
